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     Interim Class Counsel
16
                                IN THE UNITED STATES DISTRICT COURT
17
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                             OAKLAND DIVISION
19    Christopher Corcoran, et al. on behalf of       Case No. 4:15-cv-03504-YGR
      themselves and others similarly situated,
20                                                    CLASS ACTION
                   Plaintiffs,
21                                                    DECLARATION OF ROBERT B.
            v.                                        GILMORE IN SUPPORT OF
22
                                                      PLAINTIFFS’ AMENDED MOTION FOR
23    CVS Pharmacy, Inc.                              CLASS CERTIFICATION

24
                   Defendant.
25
26
27
28

      DECL. OF ROBERT B. GILMORE IN                                   CASE NO. 4:15-CV-03504-YGR
      SUPPORT OF PLAINTIFFS’ AM. MOT. FOR
      CLASS CERT.
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 1   I, Robert B. Gilmore, declare as follows:
 2           1.      I am an attorney duly admitted to practice before this Court pro hac vice. I am a partner
 3   with Stein, Mitchell, Cipollone, Beato, & Missner, LLP, one of the law firms appointed as Interim Class
 4   Counsel representing the Plaintiffs and proposed classes in this litigation. I submit this declaration in
 5   support of Plaintiffs’ Amended Motion for Class Certification. I have personal knowledge of the facts
 6   stated herein and, if called upon to do so, could and would testify competently thereto.
 7           2.      Attached is an APPENDIX      OF   PLAINTIFFS’ EXHIBITS, which lists the exhibits Plaintiffs
 8   attach to their Amended Motion, indicates if those exhibits were previously submitted to the Court (and
 9   if so, identifies the prior exhibit number), and indicates the Court’s ruling on the confidentiality of such
10   exhibits, if applicable.
11           3.      Attached as Exhibit 1 is a true and correct copy of the June 6, 2017 Amended and
12   Supplemented Expert Declaration of Professor Joel W. Hay.
13           4.      Attached as Exhibit 2 is a true and correct copy of an Oct. 27, 2016 Letter from Grant
14   Geyerman to Robert Gilmore regarding the Contracts Applicable to Plaintiffs.
15           5.      Attached as Exhibit 3 is a true and correct copy of excerpts from the transcript of the
16   December 13, 2016 Deposition of Thomas Gibbons individually and as a 30(b)(6) designee.
17           6.      Attached as Exhibit 4 is a true and correct copy of a March. 6, 2017 Demonstrative
18   Exhibit created by CVS in this litigation.
19           7.      Attached as Exhibit 5 is a true and correct copy of a March 31, 1997 Provider Agreement
20   between PCS Health Systems, Inc. (now Caremark) and CVS Pharmacy, Inc., produced by CVS in this
21   litigation with the Bates No. CVSC-0356399.
22           8.      Attached as Exhibit 6 is a true and correct copy of a June 1, 1999 Prescription Drug
23   Services Agreement between Pacificare Pharmacy Centers, Inc. d/b/a Prescription Solutions (a
24   predecessor company of Optum Rx) and CVS Pharmacy, Inc., produced by CVS in this litigation with
25   the Bates No. CVSC-0342343.
26           9.      Attached as Exhibit 7 is a true and correct copy of a January 18, 2008 Pharmacy Provider
27   Agreement between Express Scripts, Inc. and CVS Pharmacy, Inc., produced by CVS in this litigation
28   with the Bates No. CVSC-0325306.

      DECL. OF ROBERT B. GILMORE IN                                       CASE NO. 4:15-CV-03504-YGR
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 1          10.    Attached as Exhibit 8 is a true and correct copy of a February 1, 2008 Pharmacy Network
 2   Agreement between MedImpact Healthcare Systems, Inc. and CVS Pharmacy, Inc., produced by CVS
 3   in this litigation with the Bates No. CVSC-0333819.
 4          11.    Attached as Exhibit 9 is a true and correct copy of the June 6, 2017 Amended and
 5   Supplemented Expert Declaration of Professor Robert Navarro.
 6          12.    Attached as Exhibit 10 is a true and correct copy of excerpts from the transcript of the
 7   September 28, 2016 Deposition of Robert Greenwood.
 8          13.    Attached as Exhibit 11 is a true and correct copy of excerpts from the transcript of the
 9   October 26, 2016 Deposition of Susan F. Colbert.
10          14.    Attached as Exhibit 12 is a true and correct copy of excerpts from the transcript of the
11   August 11, 2016 Deposition of Deborah Veale.
12          15.    Attached as Exhibit 13 is a true and correct copy of excerpts from the transcript of the
13   November 2, 2016 Deposition of Cal Corum.
14          16.    Attached as Exhibit 14 is a true and correct copy of excerpts from the transcript of the
15   November 17, 2016 Deposition of William J. Barre.
16          17.    Attached as Exhibit 15 is a true and correct copy of a 2009/2010 Medco Pharmacy
17   Services Manual produced by CVS in this litigation with the Bates No. CVSC-0324389.
18          18.    Attached as Exhibit 16 is a true and correct copy of the June 6, 2017 Expert Declaration
19   of Susan Hayes.
20          19.    Attached as Exhibit 17 is a true and correct copy of the June 6, 2017 Expert Declaration
21   of Dale Chamberlain.
22          20.    Attached as Exhibit 18 is a true and correct copy of an August 4, 2005 Retail Pharmacy
23   Agreement between Medco Health Solutions, Inc. and CVS Pharmacy, Inc., produced by CVS in this
24   litigation with the Bates No. CVSC-0355806.
25          21.    Attached as Exhibit 19 is a true and correct copy of excerpts from the transcript of the
26   September 20, 2016 Deposition of CVS Pharmacy, Inc.’s Rule 30(b)(6) Designee, Hilary Dudley.
27          22.    Attached as Exhibit 20 is a true and correct copy of excerpts from the transcript of the
28   September 16, 2016 Deposition of Scott Tierney.

      DECL. OF ROBERT B. GILMORE IN                                 CASE NO. 4:15-CV-03504-YGR
      SUPPORT OF PLAINTIFFS’ AM. MOT. FOR              2
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           Case 4:15-cv-03504-YGR Document 274-1 Filed 06/06/17 Page 4 of 14



 1          23.    Attached as Exhibit 21 is a true and correct copy of a document titled “Health Savings
 2   Pass Reconciliation Process,” produced by CVS in this litigation with Bates No. CVSC-0313151.
 3          24.    Attached as Exhibit 22 is a true and correct copy of a document titled “Third Party
 4   Glossary,” produced by CVS in this litigation with Bates No. CVSC-0068438.
 5          25.    Attached as Exhibit 23 is a true and correct copy of excerpts from the transcript of the
 6   July 21, 2016 Deposition of Sevak Melkonian.
 7          26.    Attached as Exhibit 24 is a true and correct copy of excerpts from the transcript of the
 8   November 1, 2016 Deposition of John Zevzavadjian.
 9          27.    Attached as Exhibit 25 is a true and correct copy of excerpts from the transcript of the
10   September 30, 2014 Examination Under Oath of Thomas J. Gibbons, conducted by attorneys from the
11   Texas Attorney General’s office, produced by CVS in this litigation with Bates No. CVSC-0223177.
12          28.    Attached as Exhibit 26 is a true and correct copy of excerpts from the transcript of the
13   October 1, 2014 Examination Under Oath of Susan F. Colbert, conducted by attorneys from the Texas
14   Attorney General’s office, produced by CVS in this litigation with Bates No. CVSC-0223295.
15          29.    Attached as Exhibit 27 is a true and correct copy of excerpts from the transcript of the
16   December 19, 2014 Examination Under Oath of Paul R. Ferschke, conducted by attorneys from the
17   Texas Attorney General’s office, produced by CVS in this litigation with Bates No. CVSC-0223385.
18          30.    Attached as Exhibit 28 is a true and correct copy of excerpts from the transcript of the
19   July 20, 2016 Deposition of Thomas Morrison.
20          31.    Attached as Exhibit 29 is a true and correct copy of excerpts from the transcript of the
21   January 5, 2017 Deposition of John Lavin.
22          32.    Attached as Exhibit 30 is a true and correct copy of excerpts from the transcript of the
23   December 16, 2016 Deposition of Amber Compton.
24          33.    Attached as Exhibit 31 is a true and correct copy of excerpts from the transcript of the
25   December 20, 2016 Deposition of Michael Reichardt.
26          34.    Attached as Exhibit 32 is a true and correct copy of CVS’s First Supplemental Responses
27   to Plaintiffs’ First Requests for Admission dated May 10, 2017.
28

      DECL. OF ROBERT B. GILMORE IN                                    CASE NO. 4:15-CV-03504-YGR
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 1          35.     Attached as Exhibit 33 is a true and correct copy of a June 2010 Landscape Strategy
 2   Presentation, produced by CVS in this litigation with the Bates No. CVSC-0341621.
 3          36.     Attached as Exhibit 34 is a true and correct copy of a December 6, 2010 ScriptSave
 4   document titled “Business Case Pharmacy Savings Program,” produced by CVS in this litigation with
 5   the Bates No. CVSC-0319522.
 6          37.     Attached as Exhibit 35 is a compilation of true and correct copies of HSP program
 7   formularies produced by CVS in this litigation with the Bates Nos. CVSC-0008309, CVSC-0008311,
 8   CVSC-0008313, CVSC-0008315, CVSC-0008319, CVSC-0008321, CVSC-0008323, CVSC-0008327,
 9   CVSC-0008329, CVSC-0008915, CVSC-0198667, CVSC-0199412, CVSC-0201555, CVSC-0222034,
10   CVSC-0224662, CVSC-0226329, CVSC-0226476, CVSC-0226628, CVSC-0226673, CVSC-0229413,
11   CVSC-0236969.
12          38.     Attached as Exhibit 36 is a true and correct copy of the Plaintiffs’ Corrected First
13   Amended Petition filed in Texas ex rel. Winkelman v. CVS Health Corp., No. D-1-GV-14000388 (126th
14   Jud. Dist. Jan. 5, 2017).
15          39.     Attached as Exhibit 37 is a true and correct copy of a spreadsheet listing “Cash Discount”
16   programs, including the Health Savings Pass program, produced by CVS in this litigation with the Bates
17   No. CVSC-0039722.
18          40.     Attached as Exhibit 38 is a true and correct copy of an Apr. 9, 2008 Email thread
19   regarding “Cash card discussion with Larry,” produced by CVS in this litigation with the Bates No.
20   CVSC-0222729.
21          41.     Attached as Exhibit 39 is a true and correct copy of a May 14, 2008 Email regarding
22   “Cash Card,” produced by CVS in this litigation with the Bates No. CVSC-0222959.
23          42.     Attached as Exhibit 40 is a true and correct copy of an August 3-4, 2008 Email thread
24   regarding “CVS Caremark Cash Offering,” produced by CVS in this litigation with the Bates No.
25   CVSC-0222766.
26          43.     Attached as Exhibit 41 is a true and correct copy of a September 12, 2008 Email thread
27   regarding “Proposed CVS Retail Program,” produced by CVS in this litigation with the Bates No.
28   CVSC-0001448.

      DECL. OF ROBERT B. GILMORE IN                                   CASE NO. 4:15-CV-03504-YGR
      SUPPORT OF PLAINTIFFS’ AM. MOT. FOR              4
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 1          44.     Attached as Exhibit 42 is a true and correct copy of a document titled “CVS/Pharmacy
 2   Health Savings Pass Enrollment Form,” produced by CVS in this litigation with the Bates No. CVSC-
 3   0000091.
 4          45.     Attached as Exhibit 43 is a true and correct copy of a Feb. 17, 2012 document titled
 5   “CVS/Pharmacy Health Savings Pass Policies & Procedures,” produced by CVS in this litigation with
 6   the Bates No. CVSC-0222895.
 7          46.     Attached as Exhibit 44 is a true and correct copy of the transcript of the February 2, 2016
 8   Examination Under Oath of Thomas E. Morrison, conducted by attorneys from the Texas Attorney
 9   General’s office, produced by CVS in this litigation with Bates No. CVSC-0223506.
10          47.     Exhibit 45 is intentionally omitted.
11          48.     Attached as Exhibit 46 is the Plaintiffs’ Trial Plan.
12          49.     Attached as Exhibit 47 is a true and correct copy of the OptumRx 2014 Pharmacy Manual
13   produced by CVS in this litigation with Bates No. CVSC-00332806.
14          50.     Attached as Exhibit 48 is a true and correct copy of the 2014 MedCare Pharmacy
15   Networks Policies and Procedures Manual (also known as the Pharmacy Provider Manual), produced
16   by CVS in this litigation with Bates No. CVSC-0351027.
17          51.     Attached as Exhibit 49 is a true and correct copy of the CVS Caremark Provider Manual,
18   produced by CVS in this litigation with Bates No. CVSC-0023470.
19          52.     Attached as Exhibit 50 is a true and correct copy of the 2015 Express Scripts Network
20   Provider Manual, produced by CVS in this litigation with Bates No. CVSC-0273734.
21          I declare under penalty of perjury under the laws of the United States of America that the
22   foregoing is true and correct to the best of my knowledge and belief.
23          Executed this 6th day of June, 2017.
24
                                                   /s/ Robert B. Gilmore_____
25
                                                   Robert B. Gilmore
26
27
28

      DECL. OF ROBERT B. GILMORE IN                                     CASE NO. 4:15-CV-03504-YGR
      SUPPORT OF PLAINTIFFS’ AM. MOT. FOR               5
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                    APPENDIX OF PLAINTIFFS’ EXHIBITS

NO.              NEW EXHIBITS                   PRIOR EXHIBIT NO.            PRIOR COURT
                                                                               RULING
 1      Amended and Supplemented            Not previously submitted.            N/A
        Declaration of Joel W. Hay,
        Ph.D.

 2      Letter from counsel G.Geyerman      Plaintiffs’ oppn. to mot. to   Redactions
        to R.Gilmore (Oct. 27, 2016)        strike Hay, Ex. 9              approved [Dkt.
                                            (Unredacted version: Dkt.      253]
                                            209-10)

 3      Excerpts of deposition transcript   Portions submitted (pp. 9-     Those portions
        of Thomas Gibbons (30b6)            12, 60-65, 70-72, 100-102,     previously
        (Dec. 13, 2016) at pp. 61, 63-64,   148-151, 154-156, 246-249,     submitted sealed
        233-234, 247-248, 259-260           258-261, 263) with             [Dkt. 255]
                                            Plaintiffs’ reply to class
                                            cert., Ex. 42
                                            (Unsealed version: Dkt.
                                            214-6)

 4      Excerpts from CVS                   Previously submitted by               N/A
        Demonstrative (Mar. 6, 2017)        CVS.

 5      CVS – Caremark (formerly            Not previously submitted.             N/A
        PCS Health Systems, Inc.)
        Agreement (Mar. 31, 1997
        (CVSC-0356399)

 6      CVS-Optum Agreement (Jun.           Not previously submitted.             N/A
        1, 1999) (CVSC-0342343)

 7      CVS – Express Scripts               Not previously submitted.             N/A
        Agreement (Jan. 18, 2008)
        (CVSC-0325306)


 8      CVS- MedImpact Agreement            Not previously submitted              N/A
        (Feb. 1, 2008) (CVSC-033819)
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9      Amended and Supplemented            Not previously submitted                 N/A
       Declaration of Robert P.
       Navarro, Pharm.D.

10     Excerpts of deposition transcript   Portions submitted (pp. 9-        Those portions
       of Robert Greenwood (Sept. 28,      12, 39-50, 69-71,75-79)           previously cited
       2016), pp. 43-44, 48-49, 70, 76-    with Plaintiffs’ prior mot.       were sealed [Dkts.
       78, 100-102                         for class cert., Ex. 6            250, 255]
                                           (Unsealed version: Dkt.
                                           170-15) and

                                           Portions submitted (pp. 10-
                                           12, 47-50, 298) with Plfs.’
                                           Reply, Ex. 46 (Unsealed
                                           version: Dkt. 214-9)

11     Excerpts of deposition transcript   Portions (pp. 11-15, 21-24,       Those portions
       of Susan Colbert (Oct. 26, 2016)    40-42, 247-251) submitted         previously cited
       at pp. 41, 47-48, 248-249           with Plaintiffs’ reply i.s.o of   were sealed [Dkt.
                                           mot. for class cert., Ex. 45      255]
                                           (Unsealed: [Dkt. 214-8])



12     Excerpts of deposition transcript   Not previously submitted.                N/A
       of Deborah Veale (Aug. 11,
       2016), p. 142

13     Excerpts of deposition transcript   Not previously submitted.                N/A
       of Cal Corum (Nov. 2, 2016), p.
       14

14     Excerpts of the deposition          Portions submitted (pp. 6-        Those portions
       transcript of William Barre         13, 85-87, 92) with               previously cited
       (MedImpact) (Nov. 17, 2016), pp.    Plaintiffs’ oppn. to mot. to      were sealed [Dkts.
       17-19                               strike Navarro, Ex. 25            252, 255]
                                           (Unsealed version: Dkt.
                                           205-25)

                                           and

                                           (pp. pp. 9-17, 61-64, 92)
                                           with Plaintiffs’ reply i.s.o of
                                           mot. for class cert., Ex. 50
                                           (Unsealed version: Dkt.
                                           214-13)
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15     Medco 2009/2010 Pharmacy            Not previously submitted.              N/A
       Services Manual (CVSC-
       0324389)

16     Expert Declaration of Susan         Not previously submitted.              N/A
       Hayes

17     Expert Declaration of Dale          Not previously submitted.              N/A
       Chamberlain

18     CVS-Medco Retail Pharmacy           Not previously submitted.              N/A
       Agreement (Jan. 1,
       2005)(CVSC-0355806)

19     Excerpts of deposition transcript  Portions submitted (pp. 8-      Sealed [Dkts. 250,
       of Hilary Dudley (30b6)(Sept.      10, 62-65, 67-69, 79-84, 88- 255, 252,
       20, 2016), pp. 68, 81-83, 135, 194 92, 134-136, 187-190, 193- respectively]
                                          195, 198-200, 228-231,
                                          233-236, 256) as Plaintiffs’
                                          prior mot. for class cert., Ex.
                                          3 (Unsealed version: Dkt.
                                          170-12)

                                           (pp. 9, 70-72, 80-84, 256)
                                           with Plaintiffs’ reply i.s.o.
                                           mot. for class cert., Ex. 53
                                           (Unsealed version: Dkt.
                                           214-16); and

                                           (pp. 9-11, 82-84, 256) with
                                           Plaintiffs’ oppn. to mot. to
                                           strike Navarro, Ex. 15
                                           (Unsealed version: Dkt.
                                           205-15)

20     Excerpts of deposition transcript   Portions submitted (pp. 8-9,    Those portions
       of Scott Tierney (Sept. 13,         41-46, 202-205, 224-228,        previously
       2016) at pp. 226                    231) with Plaintiffs’ prior     submitted were
                                           mot. for class cert., Ex. 1     sealed [Dkts. 250,
                                           (Unsealed version: Dkt.         252]
                                           170-11); and

                                           (pp. 11-15, 87-89, 172-176,
                                           231) with Plaintiffs’ oppn.
                                           to mot. to strike Navarro,
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                                          Ex. 13 (Unsealed version:
                                          Dkt. 205-13)

21      Health Savings Pass               Plaintiffs’ prior mot. for        Sealed [Dkt. 250]
        Reconciliation Process (CVSC-     class cert., Ex. 4
        0313151)                          (Unsealed version: Dkt.
                                          170-13)

22      Email attaching “Third Party      Plaintiffs’ prior mot. for        Unsealed [Dkt.
        Finance Glossary of Terms”        class cert., Ex. 5                250]
        (CVSC-0068438)                    (Unsealed version: Dkt.
                                          170-14)

23      Excerpts of the deposition of     Portions submitted (pp. 1, 8- Sealed [Dkts. 250,
        Sevak Melkonian (July 21,         11, 63-66, 102-105, 150)      255, and 252,
        2016), p. 76                      with Plaintiffs’ prior mot.   respectively]
                                          for class cert., Ex. 11;
                                          (Unsealed version: Dkt.
                                          170-20)
                                          and

                                          (pp. 8-11, 75-77, 150) with
                                          Plaintiffs’ reply i.s.o of mot.
                                          for class cert., Ex. 52;
                                          (Unsealed version: Dkt.
                                          214-15)
                                          and

                                          (pp. 8-11, 16-20, 150) with
                                          Plaintiffs’ oppn. to mot. to
                                          strike Navarro, Ex. 14
                                          (Unsealed version: Dkt.
                                          205-14)

24      Excerpts of the deposition        Portions submitted (pp. 9-        Sealed [Dkt. 255]
        transcript of John Zevzavadjian   11, 54-61, 130-132, 193-
        (Nov. 1, 2016), pp. 55, 59, 60,   196, 208-212, 227) with
        131                               Plaintiffs’ reply i.s.o. of
                                          mot. for class cert., Ex. 44
                                          (Unsealed version: Dkt.
                                          214-7)
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25      Excerpts of deposition transcript   Portions submitted (pp. 6-9,     Sealed [Dkts. 250,
        of Thomas Gibbons (TX action)       54-65, 118-125, 138-141,         255, 252,
        (Sept. 30, 2014), at pp. 60-62,     210-217, 242-249, 258-260)       respectively]
        140, 246-247                        with Plaintiffs’ prior mot.
                                            for class cert., Ex. 7
                                            (Unsealed version: Dkt.
                                            170-16); and

                                            Portions submitted (pp. 9-
                                            12, 60-64, 70-72, 100-102,
                                            148-151, 154-156, 246-249,
                                            258-261, 263) with Plfs.’
                                            reply i.s.o of class cert, Ex.
                                            42 (Unsealed version: Dkt.
                                            214-6); and

                                            and (pp. 58-65, 258-260)
                                            with Plaintiffs’ oppn. to
                                            mot. to strike Navarro, Ex. 2
                                            (Unsealed: Dkt. 205-7)


26      Excerpts of deposition transcript   Portions (pp. 6-9, 182-185,      Sealed [Dkt. 250]
        of Susan Colbert (TX action)        198) submitted with
        (Oct. 1, 2014), at pp. 184-185      Plaintiffs’ prior mot. for
                                            class cert., Ex. 8
                                            (Unsealed version: Dkt.
                                            170-17)

27      Excerpts of the deposition of       Portions submitted (pp. 22-      Sealed [Dkt. 250]
        Paul Ferschke (TX action) (Dec.     33, 118-125, 150-154) as
        19, 2014), pp. 26, 120-121          Plaintiffs’ prior mot. for
                                            class cert., Ex. 9
                                            (Unsealed version: Dkt.
                                            170-18)

28      Excerpts of the deposition of       Portions submitted (pp. 76- Unsealed [Dkt.
        Thomas Morrison (July 20,           78, 115-118, 133-137, 141- 250]
        2016), p. 116                       144, 280) with Plaintiffs’
                                            prior mot. for class cert., Ex.
                                            10
                                            (Unsealed version: Dkt.
                                            170-19)
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29      Excerpts of deposition transcript    Portions submitted (pp. 7,        Sealed [Dkt. 255]
        of John Lavin (Caremark) (Jan.       61-75, 132-137, 167) with
        5, 2017), pp. 63-64, 74              Plaintiffs’ reply i.s.o. of
                                             mot. for class cert., Ex. 47
                                             (Unsealed version: Dkt.
                                             214-10)

30      Excerpts of the deposition           Portions submitted (rough         Sealed [Dkts. 252,
        transcript of Amber Compton          tr., pp. 1-3, 5-7, 44-51, 57-     255]
        (Express Scripts) (Dec. 16, 2016),   63) with Plaintiffs’ oppn. to
        pp. 33-34                            mot. to strike Navarro, Ex.
                                             24 (Unsealed version: Dkt.
                                             205-24) and

                                             (pp. 10, 11, 32-35, 95) with
                                             Plaintiffs’ reply i.s.o of mot.
                                             for class cert., Ex. 48
                                             (Unsealed version: Dkt.
                                             214-11)

31      Excerpts of the deposition           Portions submitted (pp. 93-        Sealed [Dkt. 255]
        transcript of Michael Reichardt      96, 268-270, 286) with
        (OptumRx) (Dec. 20, 2016) p.         Plaintiffs’ reply i.s.o of mot.
        269                                  for class cert., Ex. 49
                                             (Unsealed version: Dkt.
                                             214-12)

32      CVS’s 1st Supp. Resps. To Pltfs’     Not previously submitted.                N/A
        Reqs. For Admission (May 10,
        2017)

33      June 2010 Landscape Strategy         Plaintiffs’ prior mot. for        Sealed [Dkt. 250]
        presentation:” (CVSC-0341621)        class cert., Ex. 26 (Unsealed
                                             version: Dkt. 170-34)

34      Exhibit 34 to the Gilmore Decl.:      Not previously submitted.               N/A
        Email with Scriptsave
        presentation (Dec. 9, 2012)
        (CVSC-0319522)

35      HSP Program Formularies (Nov.        Plaintiffs’ prior mot. for        Unsealed [Dkt.
        1, 2008 – May 2015) (CVSC-           class cert., Ex. 16               250]
        0008309)                             (Unsealed: Dkt. 257-5)
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    36      Texas Complaint                        Plaintiffs’ reply i.s.o. of       Not filed under seal
                                                   mot. for class cert., Ex. 43
                                                   [Dkt. 215-3]

    37      CVS list of “Cash Discount”            Plaintiffs’ mot. for class        Sealed [Dkt. 250]
            programs that including HSP            cert., prior Ex. 21 (Unsealed
            program, at 6                          version: [Dkt. 170-29])

    38      Emails “Cash card discussion           Plaintiffs’ prior mot. for        Sealed [Dkt. 250]
            with Larry [Merlo, current CEO         class cert., Ex. 17
            of CVS Health]” (Apr. 9, 2008)         (Unsealed version: Dkt.
            (CVSC-0222729)                         170-25)


    39      Emails T.Morrison with                 Plaintiffs’ mot. for class        Sealed [Dkt. 250]
            B.Harlam entitled “Cash Card”          cert., prior Ex. 18
            (May 14, 2008) (CVSC-0222959)          (Unsealed version: [Dkt.
                                                   170-26])

    40      D. Gertner Email Entitled “CVS         Plaintiffs’ mot. for class        Sealed [Dkt. 250]
            Caremark Cash Offering” (Aug.          cert., prior Ex. 19 (Unsealed
            3, 2008)                               version: [Dkt. 170-27])

    41      M. Dowling to E. Wingate email         Plaintiffs’ mot. for class        Unsealed [Dkt.
            (Sept. 12, 2008)                       cert., prior Ex. 20               250]

    42      HSP Enrollment Form (CVSC-             Not previously submitted.         N/A
            0000091)


    43      CVS Policy and Procedure re.           Plaintiffs’ prior mot. for        Sealed [Dkt. 250]
            Health Savings Pass (CVSC-             class cert., Ex. 22
            0222895)                               (Unsealed version: Dkt.
                                                   170-30)
    44      Excerpts of the deposition of          Portions submitted (pp. 226-             Sealed1
            Thomas Morrison (TX AG                 229, 254-257) with
            action (Feb. 2, 2016), pp. 227:2-      Plaintiffs’ prior mot. for
            22                                     class cert., Ex. 23
                                                   (Unsealed version: Dkt.
                                                   170-14)
    45      Intentionally omitted



1
 It appears this portion was never ruled upon, one way or the other, and remains filed under seal. See Dkt.
250.
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46      Plaintiffs’ Trial Plan          Not previously submitted    N/A


47      Optum 2014 Pharmacy Manual      Not previously submitted.   N/A
        (CVSC-0332806)

48      MedImpact 2014 Provider         Not previously submitted.   N/A
        Manual (CVSC-0351027)


49      Caremark 2009 Provider          Not previously submitted.   N/A
        Manual (CVSC-0023470)

50      Express Scripts 2015 Provider   Not previously submitted.   N/A
        Manual (CVSC-0273734)
